     Case 2:24-cr-00091-ODW      Document 150-4 Filed 11/01/24       Page 1 of 1 Page ID
                                          #:1831



 1                            UNITED STATES DISTRICT COURT
 2                     FOR THE CENTRAL DISTRICT OF CALIFORNIA
 3
 4 UNITED STATES OF AMERICA,                             No. CR 2:24-cr-00091-ODW
 5        Plaintiff,
 6        v.                                             [PROPOSED] ORDER
 7 ALEXANDER SMIRNOV,
 8        Defendant.
 9
10
11
12         Upon Consideration of the Government’s First Motion in Limine to preclude the
13   defendant from calling his proposed expert, Gregory Scott Rogers, to testify at trial, and
14   the Defendant’s Response thereto, the Court grants the Motion and orders that the
15   defendant is precluded from calling Rogers at trial. He is excluded because the defendant’s
16   expert disclosure does not satisfy Fed. R. Crim. P. 16 and Rogers’ testimony is otherwise
17   inadmissible under F.R.E. 702.
18
19         Dated: ________________                SO ORDERED
20
21
22                                                ____________________________
23                                                The Honorable Otis D. Wright, III
24                                                United States District Judge
25
26
27
28
                                                 9
